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                                  UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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      UNITED STATES OF AMERICA,                  )
 9                                               )
                    Plaintiff,                   )          2:10-cr-361-LDG-RJJ
10                                               )
      vs.                                        )
11                                               )
      GERARDO CEJA, et al.,                      )              ORDER
12                                               )
                    Defendant,                   )
13                                               )
14           This matter is before the Court on Defendant Gerardo Ceja’s Motion to
15    Dismiss/Alternatively, Motion to Sever (#42).
16           The Court having reviewed the Motion (#42) and the file herein, finds that Defendant
17    Gerardo Ceja entered a Change of Plea on October 18, 2010. See, Minutes of Proceedings (#81).
18    Good cause appearing therefore,
19           IT IS HEREBY ORDERED that Defendant Gerardo Ceja’s Motion to
20    Dismiss/Alternatively, Motion to Sever (#42) is MOOT.
21           DATED this th day of October, 2010.
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                                                 ROBERT J. JOHNSTON
24                                               United States Magistrate Judge
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